         Case 7:17-cv-06689-VB Document 10 Filed 11/20/17 Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      SOUTHERN DISTRICT OF NEW YORK

David Corcia

                                                                     Case No.:   7   zl7 -cv-06689




                       Plaintiff,
                                                             NOTICE OF DISMISSAL



Experian Information Solutions, Inc.



                       Defendants.




TO THE HONORABLE UNITED STATES DISTRICT COURT:

Pursuant to Fed. R. Civ. P. 41, Plaintiffhereby stipulates to and gives notice of the dismissal of
the above-entitled and numbered action with preiudice as to the plaintiff and without costs to
either oartv.

                                                    Respectfully submitted,


Dated: Nov.20,2017


                                               The Law Offices of Shimshon Wexler, P.C.
                                               216 W. 104'n St., #129
                                               New York, NY 10025
                                               Tel-(2r2) 760-2400
                                               Fax-(917) 512-6132
                                               swexleresq@gmail.com
                                               Attorney for Plaintiff




SO ODERED:
